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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

  WARNER RECORDS INC., et al.,
                                                    Case No. 2:23-cv-00576-JRG-RSP
                 Plaintiffs,

         v.

  ALTICE USA, INC., et al.,

                 Defendants.

                           DECLARATION OF MICHAEL S. ELKIN

        1.      I, Michael S. Elkin, am an attorney at law, duly licensed to practice before the courts

 of New York. I am a partner at Winston & Strawn LLP and lead counsel for Defendants in the

 above-captioned action. I have personal knowledge of the facts set forth herein, except where

 noted, and, if called to testify, could and would competently testify thereto.

        2.      Attached hereto as Exhibit A is a true and correct copy of excerpts of the deposition

 transcript of Wade Leak, one of the Federal Rule of Civil Procedure 30(b)(6) designees for the

 Sony Music Entertainment Plaintiffs, dated April 11, 2025.

        3.      Attached hereto as Exhibit B is a true and correct copy of excerpts of the deposition

 transcript of Tracie Parry, one of the Federal Rule of Civil Procedure 30(b)(6) designees for the

 Warner Music Plaintiffs, dated April 11, 2025.

        I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



 Executed on April 25, 2025

                                                               s/ Michael S. Elkin
                                                               Michael S. Elkin
